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                                UNITED STATES DISTRICT COURT
                                 MIDDLE DISTRICT OF FLORIDA
                                     FORT MYERS DIVISION

 JAMES WELDON STRICKLER and
 JUDITH ANNE STRICKLER,

                  Plaintiffs,

 v.                                                          Case No.: 2:18-cv-781-FtM-38MRM

 WALMART STORES EAST, LP,

                 Defendant.
                                                  /

                                                 ORDER1

         Before the Court is the parties’ Joint Pretrial Statement Deposition Designations

 (Doc. 73-7). Defendant made several objections to Plaintiffs’ designations, to which

 Plaintiffs did not respond.        After review of the record and applicable law, the Court

 sustains all Defendant’s objections except its final one. Defendant’s asked-and-answered

 objection to Phillip Demorett’s deposition is overruled. (Doc. 73-7 at 4).

         Accordingly, it is now

         ORDERED:

         Defendant’s objections to the Joint Pretrial Statement Deposition Designations

 (Doc. 73-7) are SUSTAINED except its final asked-and-answered objection to Phillip

 Demorett’s deposition, which is OVERRULED.




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       DONE and ORDERED in Fort Myers, Florida this 18th day of September, 2020.




 Copies: All Parties of Record




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